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  March 13, 2025


  VIA ECF
  Hon. Alvin K. Hellerstein
  United States District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007


  Re:       United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

  Dear Judge Hellerstein:

          Defendant Charlie Javice respectfully moves to partially join the arguments advanced by
  co-defendant Olivier Amar in his anticipated motion in opposition to the government’s motion to
  preclude, due to the Court by noon today. See ECF No. 321 (government motion). Ms. Javice
  requests that the Court deny the government’s motion to preclude from evidence a single-line
  statement sent via text message from Ms. Javice to Mr. Amar (the “Statement”).* Ms. Javice, with
  Mr. Amar’s consent, requests that the Court enter the enclosed proposed order memorializing a
  disclosure of the Statement without attorney-client-privilege waiver pursuant to Federal Rule of
  Evidence 502(d), which authorizes a federal court to enter an order that attorney-client privilege
  is not waived by disclosure connected with the litigation pending before the court. See Exhibit B.

          As Mr. Amar correctly asserts, the government lacks standing to assert privilege over the
  Statement on behalf of the corporate privilege holder,
        . Nevertheless, the government moved to preclude defendants from admitting the Statement
  into evidence claiming, inter alia, that the Statement “is privileged, and the holder of the privilege
  is asserting the privilege.” ECF No. 321. This fails to paint a complete picture. Without waiving
  attorney-client privilege,       authorized the use of the Statement in this proceeding and consents
  to the Court’s entry of an order providing for such disclosure pursuant to Rule 502(d). See Exhibit
  A (filed under seal). Specifically:

  *
        The Statement—                                                                   —is
  included in exhibits presently marked for identification in this proceeding as GX801-9 and
  OA 178. See ECF 321.

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DRAFT-PRIVILEGED AND CONFIDENTIAL
ATTORNEY-CLIENT PRIVILEGE

             consents to the use of the text message at issue in this criminal proceeding
       so long as the use of that message does not constitute a broader waiver of       ’s
       privilege.

Exhibit A (emphases added). Ms. Javice and Mr. Amar agree that because there are no privilege
issues preventing the Statement’s use, the government’s motion to preclude should be denied.

        Even absent a limited disclosure pursuant to Rule 502(d), justice and fundamental fairness
require that privilege yield to Ms. Javice’s constitutional rights. The attorney-client privilege “may
be overcome, ‘in exceptional circumstances,’ by a criminal defendant’s constitutional right to
present a defense.” United States v. Weisberg, No. 08-cr-347 (RML), 2011 WL 1327689, at *5
(E.D.N.Y. Apr. 5, 2011) (quoting Swidler & Berlin v. United States, 524 U.S. 399, 408 n.3 (1998).
The Sixth Amendment compels such a result here. The Statement is “of such probative and
exculpatory value as to compel admission of the evidence over [a company’s] objection as the
attorney-client privilege holder.” United States v. Grace, 439 F. Supp. 2d 1125, 1143 (D. Mont.
2006); see also United States v. Herrell, No. 21-cr-13, 2024 WL 2954408, at *4 (E.D. Ky. June
12, 2024) (“[T]his Court finds that the attorney client privilege may be pierced if a criminal
defendant’s interest in his Sixth Amendment rights outweighs the privilege-holder’s interest in
maintaining the privilege.”).

       Ms. Javice partially joins in Mr. Amar’s motion and respectfully requests that the Court
deny the government’s motion to preclude and enter the attached proposed Rule 502(d) order.



                                                      Respectfully submitted,

                                                      /s/ Kirsten R. Nelson
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                                                      * Not admitted in Florida. A member in good standing
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cc:    All Counsel of Record




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